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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

UNITED STATES OF AMERICA

vs.                                NO. 4:22CR00062-0l DPM

JOHNTAE ANTHONY HENRY
                                         ORDER

       Federal criminal charges pending in the United States District Court for the Eastern

District of Arkansas require the appearance of the above-named Defendant for a

bond/detention hearing following his posting bond or otherwise arranging terms of release

from the custody of the federal, state, county, or local custodial authority (the '1custodial

authority").

       IT IS THEREFORE ORDERED that the U. S. Marshal shall file a Detainer with the

appropriate custodial authority which, along with this Order, shall constitute a hold on the

above-named Defendant.

       IT IS FURTHER ORDERED that, upon notification by the custodial authority that

the above-named Defendant has made arrangements for his release on the criminal charges,

the United States Marshal shall assume custody of the above-named Defendant and

transport Johntae Anthony Herny to the United States District Court for the Eastern District

of Arkansas.

       IT IS SO ORDERED, this 24th day of March, 2022.




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